Case 22-11068-JTD   Doc 24686-5   Filed 09/13/24   Page 1 of 4




                    EXHIBIT D
               Case 22-11068-JTD           Doc 24686-5         Filed 09/13/24        Page 2 of 4




                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE

In re:                                                       Chapter 11

FTX TRADING LTD., et al., 1                                  Case No. 22-11068 (JTD)

         Debtors.                                            (Jointly Administered)



                            CERTIFICATION OF EDGAR W. MOSLEY II

                     I, Edgar W. Mosley II, pursuant to 28 U.S.C. § 1746, to the best of my knowledge

and belief, and after reasonable inquiry, hereby certify that:

                     1.     I am a Managing Director in the firm of Alvarez & Marsal North America,

LLC (“A&M”) and I am duly authorized to make this certification on behalf of A&M. A&M

was retained by FTX Trading Ltd. and its affiliated debtors and debtors-in-possession in the

above-captioned cases (collectively, the “Debtors”). This certification is made in support of the

Seventh Interim Fee Application of A&M (the “Application”) and in compliance with rule 2016-2

of the Local Rules of Bankruptcy Practice and Procedure of the United States Bankruptcy Court

for the District of Delaware (the “Local Rule 2016-2”) of the Bankruptcy Court, and with the

Guidelines for Reviewing Applications for Compensation and Reimbursement of Expenses Filed

under 11 U.S.C. § 330 by Attorneys in Larger Chapter 11 Cases (the “U.S. Trustee Guidelines”),

28 C.F.R. pt. 58, app. A (1996).




1
    The last four digits of FTX Trading Ltd.’s and Alameda Research LLC’s tax identification numbers are 3288
    and 4063 respectively. Due to the large number of debtor entities in these Chapter 11 Cases, a complete list of
    the Debtors and the last four digits of their federal tax identification numbers is not provided herein. A
    complete list of such information may be obtained on the website of the Debtors’ claims and noticing agent at
    https://cases.ra.kroll.com/FTX. The principal place of business of Debtor Emergent Fidelity Technologies Ltd is
    Unit 3B, Bryson’s Commercial Complex, Friars Hill Road, St. John’s, Antigua and Barbuda



4863-8557-1410 v.3
               Case 22-11068-JTD            Doc 24686-5      Filed 09/13/24      Page 3 of 4




                     2.     To that end, the following is provided in response to the request for

additional information set forth in ¶ C.5 of the Guidelines:

                     Question: Did you agree to any variations from, or alternatives to, your standard
                     or customary billing rates, fees or terms for services pertaining to this engagement
                     that were provided during the application period? If so, please explain.

                     Response:      No

                     Question: If the fees sought in this fee application as compared to the fees
                     budgeted for the time period covered by this fee application are higher by 10% or
                     more, did you discuss the reasons for the variation with the client?

                     Response:      N/A

                     Question: Have any of the professionals included in this fee application varied
                     their hourly rate based on the geographic location of the bankruptcy case?

                     Response:      No

                     Question: Does the fee application include time or fees related to reviewing or
                     revising time records or preparing, reviewing, or revising invoices? (This is limited
                     to work involved in preparing and editing billing records that would not be
                     compensable outside of bankruptcy and does not include reasonable fees for
                     preparing a fee application.) If so, please quantify by hours and fees.

                     Response:      No

                     Question: Does this fee application include time or fees for reviewing time records
                     to redact any privileged or other confidential information? If so, please quantify by
                     hours and fees.

                     Response:      No

                     Question: If the fee application includes any rate increases since retention: (i) Did
                     the client review and approve those rate increases in advance? (ii) Did the client
                     agree when retaining A&M to accept all future rate increases? If not, did A&M
                     inform the client that they need not agree to modified rates or terms in order to have
                     you continue the representation, consisted with ABA Formal Ethics Opinion 11-
                     458?

                     Response:      N/A




4863-8557-1410 v.3
                                                       2
               Case 22-11068-JTD         Doc 24686-5      Filed 09/13/24     Page 4 of 4




                     3.   I have read the Application and I certify that the Application substantially

complies with Local Rule 2016-2 and the U.S. Trustee Guidelines.



Respectfully,

Alvarez & Marsal North America, LLC



By:      ______________________
         Edgar W. Mosley II
         Title: Managing Director




4863-8557-1410 v.3
                                                    3
